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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ART ASK AGENCY,

       Plaintiff,
                                                     Case No.: 21-cv-6240
v.
                                                     Judge
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.


                                          COMPLAINT

        Plaintiff, ART ASK AGENCY, by undersigned counsel, hereby complains of the

 Partnerships and Unincorporated Associations identified on Schedule A attached hereto

 (collectively, “Defendants”), and for its Complaint hereby alleges as follows:



                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.; the Copyright Act, 17

 U.S.C. § 101 et seq.; 28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction

 over the claims in this action that arise under the laws of the State of Illinois pursuant to 28

 U.S.C. § 1367(a), because the state law claims are so related to the federal claims that they form

 part of the same case or controversy and derive from a common nucleus of operative facts.




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        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademark.              Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s trademark

and copyrighted artwork to residents of Illinois. Each of the Defendants are committing tortious

acts in Illinois, engaging in interstate commerce, and have wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                         INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s Anne Stokes trademark and copyrighted artwork.

        4.      Defendants created numerous Internet Stores and designed them to appear to be

selling genuine Plaintiff’s products, while selling inferior imitations of Plaintiff’s products.

Defendant Internet Stores share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence, or



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series of transactions or occurrences. Defendants attempt to avoid liability by going to great

lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s trademark and copyrighted artwork, as well as to protect unknowing consumers from

purchasing unauthorized products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademark as a result of Defendants’ actions and seek injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused was undertaken in Illinois and

in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.



                                          THE PLAINTIFF

        6.      Plaintiff ART ASK AGENCY is a company organized under the laws of Spain

with its principal place of business in Spain.

        7.      Plaintiff ART ASK AGENCY is the exclusive licensee of the Anne Stokes

trademark and copyright registrations for the fantasy art of British artist Anne Stokes which have

been used and licensed for use on many products worldwide. The striking designs and life-like

portrayals of fantasy subjects by Anne Stokes are widely acclaimed. ART ASK AGENCY is the

official source of Anne Stokes products in the United States, which include the following:

      http://artaskagency.com/our-licenses/anne-stokes/




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       8.         The Anne Stokes trademark is and has been the subject of substantial and

continuous marketing and promotion by Plaintiff. Plaintiff has and continues to market and

promote the trademark in the industry and to consumers. Plaintiff’s promotional efforts include

— by way of example, but not limitation — substantial print media, a website, social media sites,

and point of sale materials.

       9.         The Anne Stokes trademark is distinctive and identifies the merchandise as goods

from Plaintiff.

       10.        The Anne Stokes trademark qualifies as a famous mark, as used in 15 U.S.C.

§1125 (c)(1) and has been continuously used and never abandoned.

       11.        Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting its trademark. As a result, products bearing its trademark

are widely recognized and exclusively associated by consumers, the public, and the trade as

being products sourced from Plaintiff.


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                                        THE DEFENDANTS

        12.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including Illinois and within this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendants’ Internet Stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell counterfeit products to consumers within the United States, including Illinois and this

Judicial District.



                         THE DEFENDANTS’ UNLAWFUL CONDUCT

        13.     The success of Plaintiff’s brand has resulted in its counterfeiting. Plaintiff has

identified numerous domain names linked to fully interactive websites and marketplace listings

on platforms such as iOffer, Wish and Alipay, including the Defendants’ Internet Stores, which

were offering for sale, selling, and importing counterfeit products to consumers in this Judicial

District and throughout the United States. Defendants have persisted in creating the Defendants’

Internet Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens

of millions of visits per year and generate over $135 billion in annual online sales. According to

an intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in 2013

was over $1.74 billion, up from $1.26 billion in 2012. Internet websites like the Defendants’

Internet Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate

businesses and broader economic damages such as lost tax revenue.



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       14.      Upon information and belief, Defendants facilitate sales by designing the

Defendants’ Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine products.      Many of the Defendants’

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards, Western

Union, Wish and Alipay. Defendants’ Internet Stores often include images and design elements

that make it very difficult for consumers to distinguish such counterfeit sites from an authorized

website.     Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”

customer service and using indicia of authenticity and security that consumers have come to

associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and Wish and Alipay logos.

       15.      Plaintiff has not licensed nor authorized Defendants to use its trademark or

copyrighted artwork, and none of the Defendants are authorized retailers of its genuine products.

       16.      Upon information and belief, Defendants deceive unknowing consumers by using

the Plaintiff’s trademark without authorization within the content, text, and/or meta tags of their

websites to attract various search engines looking for websites relevant to consumer searches for

Plaintiff’s products. Additionally, upon information and belief, Defendants use other unauthorized

search engine optimization (SEO) tactics and social media spamming so that the Defendants’

Internet Stores listings show up at or near the top of relevant search results and misdirect

consumers searching for Plaintiff’s genuine products.         Further, Defendants utilize similar

illegitimate SEO tactics to propel new domain names to the top of search results after others are

shut down. As such, Plaintiff seeks to disable Defendants Domain Names owned by Defendants

that are the means by which the Defendants could continue to sell counterfeit products.




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       17.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendants’ Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendants’ Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such patterns are some

of the tactics used by the Defendants to conceal their identities, the scope and interworking of their

counterfeit operations, and avoiding being shut down.

       18.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendants’ Internet Stores. For example, some of the Defendants’ websites

have identical layouts, even though different aliases were used to register their respective domain

names. In addition, the counterfeit products for sale in the Defendants’ Internet Stores bear

similarities and indicia of being related to one another, suggesting that the counterfeit products were

manufactured by a common source and that Defendants are interrelated. The Defendants’ Internet

Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, similar payment and check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, similar

hosting services, similar name servers, and the use of the same text and images.

       19.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common



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tactics to evade enforcement efforts. For example, when counterfeiters like Defendants receive

notice of a lawsuit they will often register new domain names or online marketplace accounts

under new aliases and move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down demands

sent by brand owners. Counterfeiters will also ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and

Border Protection report on seizure statistics indicated that the Internet has fueled “explosive

growth” in the number of small packages of counterfeit goods shipped through the mail and

express carriers.

        20.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant and Wish and Alipay accounts behind layers of payment gateways so that they can

continue to operate in spite of Plaintiff’s enforcement efforts.        Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their Wish and Alipay

accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of Wish

and Alipay transaction logs from prior similar cases indicate that offshore counterfeiters regularly

move funds from U.S.-based Wish and Alipay accounts to China-based bank accounts outside

the jurisdiction of this Court.

        21.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use Plaintiff’s trademark in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit products into the United

States and Illinois over the Internet. Each Defendants’ Internet Stores offer shipping to the

United States, including Illinois and, on information and belief, each Defendant has offered to

sell counterfeit products into the United States, including Illinois.



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         22.   Defendants’ use of Plaintiff’s trademark in connection with the advertising,

distribution, offering for sale, and sale of counterfeit products, including the sale of counterfeit

products into Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiff.




                                  COUNT I
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         23.   Plaintiff repeats and incorporates by reference herein its allegations contained in

paragraphs 1-22 of this Complaint.

         24.   Defendants’ promotion, marketing, offering for sale, and sale of counterfeit products

has created and is creating a likelihood of confusion, mistake, and deception among the general

public as to the affiliation, connection, or association with Plaintiff or the origin, sponsorship, or

approval of Defendants’ counterfeit products by Plaintiff.

         25.   By using the Anne Stokes trademark in connection with the sale of counterfeit

products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the counterfeit products.

         26.   Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit products to the

general public under 15 U.S.C. §§ 1114, 1125.

         27.   Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.




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                                     COUNT II
                     COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

       28.     Plaintiff repeats and incorporates by reference herein its allegations contained in

paragraphs 1-27 of this Complaint.

       29.     Plaintiff’s products have significant value and have been produced and created at

considerable expense.

       30.     Plaintiff, at all relevant times, has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the copyrighted

products, including derivative works. Plaintiff’s products are the subject of valid Certificates of

Copyright Registration issued by the Register of Copyrights. (Group Exhibit 1). The copyrighted

products include a copyright notice advising the viewer that Plaintiff’s products are protected by

the Copyright Laws.

       31.     Upon information and belief, Defendants had access to the works through

Plaintiff’s normal business activities. After accessing Plaintiff’s work, Defendants wrongfully

created copies of the copyrighted products without Plaintiff’s consent and engaged in acts of

widespread infringement.

       32.     Plaintiff is informed and upon belief thereon alleges that Defendants further

infringed Plaintiff’s copyrights by making or causing to be made derivative works from Plaintiff’s

products by producing and distributing reproductions without Plaintiff’s permission.

       33.     The copyrighted products include a copyright notice advising the general public

that Plaintiff’s products are protected by Copyright Laws.

       34.     Defendants, without the permission or consent of Plaintiff, have, and continue to

sell online infringing derivative works of Plaintiff’s copyrighted products. Defendants have

violated Plaintiff’s exclusive rights of reproduction and distribution. Defendants’ actions


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constitute infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

        35.     As a direct result of the acts of copyright infringement, Defendants have obtained

direct and indirect profits they would not otherwise have realized but for their infringement of the

copyrighted products. Plaintiff is entitled to disgorgement of Defendants’ profits directly and

indirectly attributable to their infringement of Plaintiff’s products.

        36.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

        37.     As a result of Defendants infringement of Plaintiff’s exclusive rights under

copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys’ fees and

costs pursuant to 17 U.S.C. §505.

        38.     The conduct of Defendants is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff irreparable injury that cannot be compensated fully or

monetized. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§502 and 503,

Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff’s

copyright and ordering Defendants to destroy all unauthorized copies. Defendants’ copies, plates,

and other embodiment of Plaintiff’s products from which copies can be reproduced should be

impounded and forfeited to Plaintiff as instruments of infringement, and all infringing copies

created by Defendants should be impounded and forfeited to Plaintiff, under 17 U.S.C. §503.




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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

       39.      Plaintiff repeats and incorporate by reference herein its allegations contained in

paragraphs 1-38 of this Complaint.

       40.      Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit products as those of Plaintiff, causing likelihood of confusion

and/or misunderstanding as to the source of their goods, causing likelihood of confusion and/or

misunderstanding as to an affiliation, connection, or association with genuine products,

representing that their products have Plaintiff’s approval when they do not, and engaging in other

conduct which creates likelihood of confusion or misunderstanding among the public.

       41.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

       42.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.



                                       PRAYER FOR RELIEF


WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their officers, agents, servants, employees, attorneys and all persons

acting for, with, by, through, under, or in active concert with them be temporarily, preliminarily,

and permanently enjoined and restrained from:

       a. using the Anne Stokes trademark and copyrighted products/artwork or any

             reproductions, counterfeit copies, or colorable imitations thereof in any manner in


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     connection with the distribution, marketing, advertising, offering for sale, or sale of

     any product that is not a genuine product or is not authorized by Plaintiff to be sold in

     connection with the Anne Stokes trademark and copyrights;

  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     product or any other product produced by Plaintiff that is not Plaintiff’s or not

     produced under the authorization, control, or supervision of Plaintiff and approved by

     Plaintiff for sale under the Anne Stokes trademark and copyrights;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit products are those sold under the authorization, control, or supervision of

     Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

  d. further infringing the Anne Stokes trademark and copyrights and damaging Plaintiff’s

     goodwill;

  e. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

     including the Anne Stokes trademark, or any reproductions, counterfeit copies, or

     colorable imitations thereof, or which are derived from the copyrighted artwork;

  f. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Online Marketplace Accounts, the Defendant Domain Names, or any other domain

     name or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit products; and

  g. operating and/or hosting websites at the Defendants’ Domain Names and any other

     domain names registered or operated by Defendants that are involved with the


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           distribution, marketing, advertising, offering for sale, or sale of any product bearing the

           Anne Stokes trademark and copyrights or any reproduction, counterfeit copy or colorable

           imitation thereof that is not a genuine product or not authorized by Plaintiff to be sold in

           connection with the Anne Stokes trademark or which are derived from the copyrighted

           artwork; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through g, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendants’

Domain Names shall be changed from the current registrant to Plaintiff, and that the domain

name registries for the Defendants’ Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendants’ Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendants’ Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendants’ Domain Names and make them inactive and

untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer and Alibaba

Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,

“Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search




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engines such as Google, Bing and Yahoo, web hosts for the Defendants’ Domain Names, and

domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of counterfeit products using the Anne Stokes trademark or which

            are derived from the copyrighted artwork, including any accounts associated with the

            Defendants listed in Schedule A;

       b. disable and cease displaying any advertisements used by or associated with

            Defendants in connection with the sale of counterfeit products using Plaintiff’s

            trademark or which are derived from the copyrighted artwork; and

       c. take all steps necessary to prevent links to the Defendants’ Domain Names identified

            in Schedule A from displaying in search results, including, but not limited to,

            removing links to the Defendants’ Domain Names from any search index;

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement be increased by a sum not exceeding three times the amount thereof as provided by

15 U.S.C. § 1117;

       6)      For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in its federally registered copyrights pursuant to 17 U.S.C. §501; and

b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

       7) That Plaintiff is awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.




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DATED: November 22, 2021      Respectfully submitted,


                              By:    /s/ Michael A. Hierl
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 22, 2021.



                                                     s/Michael A. Hierl




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